          Case 2:07-cr-00146-RSM          Document 15        Filed 05/04/07     Page 1 of 3




01

02

03

04

05

06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR07-146-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   SOMCHAN OT SOMPHET,                  )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute MDMA, Distribution of MDMA, Possession with

15                         Intent to Distribute MDMA

16 Date of Detention Hearing:     May 4, 2007

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been indicted on charges of conspiracy to distribute MDMA

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 1
           Case 2:07-cr-00146-RSM           Document 15        Filed 05/04/07      Page 2 of 3




01 (ecstacy), distribution of MDMA, and possession with intent to distribute MDMA. The maximum

02 penalty for these offense is in excess of ten years. There is therefore a rebuttable presumption

03 against defendant as to both dangerousness and flight risk, under 18 U.S.C. §3142(e).

04          2.      Defendant is a legal resident of the United States who was born in Laos. He is not

05 employed. His criminal history includes a prior arrest for marijuana smuggling. The AUSA

06 proffers that he has associates in Canada related to alleged drug deals. The AUSA also proffers

07 that the defendant and his brother are being investigated for the shooting of a Seattle police offer

08 which occurred several years ago. The strength of the evidence in this case is strong.

09          3.      Taken as a whole, the record does not effectively rebut the presumption that no

10 condition or combination of conditions will reasonably assure the appearance of the defendant as

11 required and the safety of the community.

12 It is therefore ORDERED:

13          (1)     Defendant shall be detained pending trial and committed to the custody of the

14                  Attorney General for confinement in a correction facility separate, to the extent

15                  practicable, from persons awaiting or serving sentences or being held in custody

16                  pending appeal;

17          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

18                  counsel;

19          (3)     On order of a court of the United States or on request of an attorney for the

20                  Government, the person in charge of the corrections facility in which defendant is

21                  confined shall deliver the defendant to a United States Marshal for the purpose of

22                  an appearance in connection with a court proceeding; and

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
     PAGE 2
         Case 2:07-cr-00146-RSM          Document 15       Filed 05/04/07     Page 3 of 3




01         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04         DATED this 4th day of May, 2007.



                                               A
05

06                                             Mary Alice Theiler
                                               United States Magistrate Judge
07

08

09

10

11

12

13

14

15

16

17

18

19

20

21

22

     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
     PAGE 3
